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                                                   U.S. Department of Justice
                                                   Civil Division, Appellate Staff
                                                   950 Pennsylvania Ave. NW, Rm. 7511
                                                   Washington, DC 20530

                                                                          Tel: (202) 514-1673

                                                   April 30, 2024

VIA CM/ECF

Kelly L. Stephens, Clerk of Court
U.S. Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, Ohio 45202

       RE:    State of Tennessee, et al. v. Department of Education, et al., No. 22-5807
              (argued April 26, 2023)

Dear Ms. Stephens:

        We write pursuant to Rule 28(j) to inform the Court that on April 29, 2024, the
Federal Register published a final rule making amendments to the Department of
Education’s Title IX regulations, which will be effective as of August 1, 2024. See U.S.
Dep’t of Educ., Final Rule: Nondiscrimination on the Basis of Sex in Education Programs or
Activities Receiving Federal Financial Assistance, 89 Fed. Reg. 33474 (Apr. 29, 2024) (Final
Rule).

       The Final Rule reinforces the conclusion that the district court erred in several
respects in enjoining the informational documents challenged in this litigation. The
Final Rule confirms that the plaintiff States lack standing because any possible injury
they suffered flows not from the challenged informational documents, but from the
obligations imposed by Title IX and its implementing regulations.1 In addition, the
form, scope, and purpose of the Final Rule demonstrate that the comparatively
limited informational documents lack the “telltale signs” of having “direct or
appreciable legal consequences” that would render them reviewable final agency
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         Although an implementing regulation, the Final Rule of course cannot
support plaintiffs’ standing as its promulgation postdates the filing of this action by
several years.
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action. Arizona v. Biden, 40 F.4th 375, 388 (6th Cir. 2022) (quotation marks omitted);
see 89 Fed. Reg. at 33814-25, 33887 (articulating legal standard). And while the Final
Rule was subject to the requirement of notice-and-comment rulemaking because it
has the “force and effect of law” and effects “a substantive change in [Title IX’s]
regulations,” Tennessee Hosp. Ass’n v. Azar, 908 F.3d 1029, 1042 (6th Cir. 2018)
(quotation marks omitted), the challenged informational documents do nothing of the
sort and thus were not required to go through notice-and-comment rulemaking.


                                       Sincerely,

                                       s/ David L. Peters
                                       David L. Peters
                                       U.S. Department of Justice
                                       Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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